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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v. CASE NO. 3:21-cr- 4Q-MMH-MCR
18 U.S.C. §§ 751 & 4082
MELVIN EVINS NANCE

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INDICTMENT

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The Grand Jury charges:

COUNT ONE

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On or about March 3, 2021, in the Middle District of Florida, the defendant,

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MELVIN EVANS NANCE,
did knowingly and willfully escape from custody in Keeton Corrections, Inc.
Jacksonville Residential Re-entry Center, an institutional facility in which he was
lawfully confined at the direction of the Attorney General by virtue of a judgment and
commitment of the United States District Court for the Middle District of Florida upon
conviction for the commission of possession of a firearm by a convicted felon, in

violation of 18 U.S.C. § 922(g)(1) and by virtue of a judgment and commitment of the

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United States District Court for the Southern District of Georgia upon conviction for
escape, in violation of 18 U.SC. § 751(a).

In violation of 18 U.S.C. §§ 751 and 4082.

A TRUE BILL,

Foreperson FS

KARIN HOPPMANN
Acting United States Attorney

   
 

 

   
 

United States Attorney

By: a Ca

*" Frank Talbot
Assistant United States Attorney
' Chief, Jacksonville Division
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